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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                               GREENVILLE DIVISION


 IN RE: Subpoena Dated August 31, 2018
 Issued to Daniel International
 Corporation
                                                                  Case No. 6:18-mc-00319-DCC

 THIS DOCUMENT RELATES TO:

 CHEMTALL INCORPORATED,

                        Plaintiff,
 vs.

 BASF SE and BASF CORP.,

                       Defendants.

 Pending in the United States District Court
 for the Southern District of Georgia,
 Case No. 4:17-cv-00186-LGW-GRS


                      DANIEL INTERNATIONAL CORPORATION’S
                           MOTION TO QUASH SUBPOENA

        Pursuant to Federal Rules of Civil Procedure 26 and 45, Daniel International Corporation

(“Daniel”), a non-party, respectfully moves to quash the subpoena commanding a corporate

representative to appear for deposition in Greenville, South Carolina, on September 17, 2018

(“Deposition Subpoena”). The subpoena was issued in the above-captioned civil action pending

in the United States District Court for the Southern District of Georgia by Plaintiff Chemtall

Incorporated (“Plaintiff” or “Chemtall”). A copy of the Deposition Subpoena is attached hereto

as Exhibit A.




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                                     I. INTRODUCTION

       Daniel comes to this Court seeking relief from Chemtall’s highly unusual, improper, and

inefficient use of a Rule 45 deposition subpoena to a non-party in which Chemtall seeks

testimony from Daniel that has no bearing on the claims in the underlying action and that is

otherwise privileged and protected from disclosure. This situation arises from a document

subpoena Daniel received from Chemtall on July 31, 2018, requesting production of voluminous

and highly confidential engineering drawings, specifications, related communications and other

documents from work done by Daniel for BASF in the mid-1980s. Daniel timely served written

objections to the document requests. In its written objections, Daniel expressly stated that it

would produce responsive documents upon entry of an adequate protective order by the District

Court in Georgia ensuring the documents would be protected from improper disclosure. Daniel

and its undersigned counsel heard nothing from Chemtall in response to its written objections or

Daniel’s offer to produce documents upon entry of a protective order. Instead, Chemtall served a

second subpoena on September 6, 2018, requiring Daniel to produce a corporate representative

to testify on a list of topics regarding Daniel’s written objections to the Document Subpoena,

Daniel’s communications with Defendant BASF and its counsel, and whether BASF is a current

customer or client of Daniel.     The enumerated topics are all far afield from any matter

conceivably relevant to the claims in the underlying lawsuit in Georgia which concern

Chemtall’s allegations that BASF wrongfully asserted patent infringement claims in a separate

lawsuit pending in Texas. Unfortunately, Daniel is left to conclude that Chemtall is misusing the

subpoena process to inflict maximum expense and burden on non-party Daniel in violation of

Chemtall’s duty under Rule 45(d)(1) to avoid imposing any such burden and expense. Daniel,

therefore, respectfully submits that Chemtall’s Deposition Subpoena should be quashed.



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                                     II. BACKGROUND

       Chemtall filed the underlying action in October 2017 asserting claims under Georgia state

law that Defendant BASF “made a bad faith assertion of patent infringement against Plaintiff

Chemtall Incorporated, a Georgia corporation, and for having engaged in obstruction of justice,

fraud, and other wrongful criminal acts in support of its bad faith conduct.” (Pl’s. Compl., ¶ 1,

S.D. Ga. ECF No. 1.) Chemtall’s allegations appear to stem from alleged acts by Defendant

BASF concerning a separate 2014 patent infringement suit brought by BASF in the Southern

District of Texas, captioned BASF Corp. v. SNF Holding et al. (C.A. No. 4:14-cv-02733).

Daniel is not a party to either the Georgia or Texas actions, and Daniel is not aware of any

allegation in either lawsuit that it had any involvement with or knowledge of the purported

wrongful conduct claimed by Chemtall against BASF.

       Prior to serving the present Deposition Subpoena, Chemtall served Daniel with a

subpoena to produce documents on July 31, 2018 (“Document Subpoena”). A copy of the

Document Subpoena is attached hereto as Exhibit B. The specific requests set forth in the

Document Subpoena covered numerous categories of documents relating to services provided by

Daniel in the 1980s in its capacity as a construction contractor on two BASF manufacturing

facility projects in Virginia, including broad requests for “[a]ll documents concerning, relating,

or referring to services performed by Daniel” on the projects and “[e]ngineering specifications,

drawings, and other documents” relating to the design and construction of the projects. Because

the requests contained in the Document Subpoena were overbroad, unduly burdensome, and

requested documents that contain highly confidential commercial information that must be

protected from disclosure, Daniel served detailed written objections to the Document Subpoena




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in accordance with Federal Rule of Civil Procedure 45(d)(2)(B). A copy of Daniel’s written

objections to the Document Subpoena are attached hereto as Exhibit C.

        As stated in Daniel’s written objections, Daniel is willing to produce or make available

for inspection documents responsive to any reasonable request contained in the Document

Subpoena upon the entry of an appropriate protective order in the Georgia action that ensures the

documents and the information contained therein will be used solely for purposes of that case

and will not be disclosed or used for any other reason.1 Undersigned counsel is informed that

Chemtall and BASF have been unable to agree on a proposed protective order for the District

Court in Georgia to enter and have submitted competing motions for entry of their respective

proposed protective orders. According to the Southern District of Georgia’s case docket, these

motions were scheduled to be heard on September 12, 2018; however, that hearing has been

continued until further notice following the recent reassignment of the case to a different

Magistrate Judge (S.D. Ga. ECF Minute Entry, 9/6/2018).

        After Daniel served its written objections to Chemtall’s Document Subpoena,

undersigned counsel for Daniel received no response regarding Daniel’s offer to produce

documents upon the entry of an adequate protective order or any other communication from

Chemtall or its attorneys.    Instead, several weeks later, Chemtall served Daniel with the

Deposition Subpoena commanding it to produce a corporate representative for deposition on

September 17, 2018, in Greenville, South Carolina. The Deposition Subpoena sets out six

“Topics for Examination.”     These topics appear to be unrelated to the claims asserted by



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      Daniel previously responded to a nearly identical document subpoena in the Texas
infringement action, producing for inspection the requested documents after entry of a protective
order by the District Court in Texas. Daniel designated the documents as containing “Highly
Confidential Information,” a designation that neither Chemtall, nor any other party in the Texas
action, sought to challenge.
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Chemtall in the underlying action.        Chemtall seeks deposition testimony regarding recent

communications between Daniel and BASF and its counsel, the factual basis for objections

asserted by Daniel to the Document Subpoena, and whether BASF is a current client or customer

of Daniel. As discussed below, Daniel submits that Chemtall’s Deposition Subpoena is an

improper use of the Rule 45 subpoena procedure and should be quashed.

                                         III. ARGUMENT

A.        Chemtall’s Deposition Subpoena should be quashed because it seeks testimony from
          Daniel that is wholly irrelevant to the claims in this action and imposes an undue
          burden on Daniel.

          Rule 45(d)(3)(A)(iv) of the Federal Rules of Civil Procedure provides that the court must,

on timely motion, quash a subpoena that “subjects a person to undue burden.” “A subpoena that

seeks information irrelevant to the case is a per se undue burden.” McCollum v. Jacoby Trucking

& Delivery, LLC, No. 8:17-CV-01244-DCC, 2017 WL 7660715, at *1 (D.S.C. Dec. 21, 2017);

see also; HDSherer LLC v. Nat’l Molecular Testing Corp., 292 F.R.D. 305, 308 (D.S.C. 2013).

A subpoena that would require a non-party to incur excessive expenditure of time or money is

unduly burdensome. Cook v. Howard, 484 Fed. Appx. 805, 812 n.7 (4th Cir. 2012). Otherwise,

“undue burden” requires the district court to balance the interests served by demanding

compliance against the interests furthered by quashing the subpoena. 9A Wright & Miller,

Federal Practice and Procedure § 2463.1 (3d ed.). “The key factors to the court’s inquiry are the

relevance of the information requested, the need of the party for the testimony, and whether it is

available from another source.” McCollum, 2017 WL 7660715 at *1.

          None of the topics listed in Chemtall’s Deposition Subpoena seek any information

relevant to Chemtall’s claims against BASF for wrongful assertion of patent infringement

claims:



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•    Topic Nos. 1 and 2 seek testimony regarding “[a]ll communications between Daniel and

     BASF that refer to or relate to the Chemtall Action” (Topic 2) and, more specifically,

     “[a]ll communications between Daniel and Reed Smith [BASF’s counsel] that refer to or

     relate to the Chemtall Action, including all drafts of the Declaration of W. David Conner

     dated June 7, 2018 . . .” (Topic 1). Daniel submits that any communications regarding

     the Chemtall Action—which would concern only communications that occurred after the

     Georgia action was filed in October 2017—could have no bearing on the claims asserted

     by Chemtall against BASF for wrongful assertion of patent infringement related to

     alleged actions by BASF in 2014 or earlier. Moreover, there is no allegation that Daniel

     had any involvement with or knowledge of the alleged wrongful acts of BASF in 2014 or

     at any other time.

            With    regard   to   Chemtall’s       specific   request   for   testimony   regarding

     communications between Daniel and BASF concerning the “Conner Declaration,” those

     communications are also irrelevant to the claims in the underlying action. Undersigned

     counsel for Daniel, W. David Conner, executed the “Conner Declaration” referred to in

     Topic 1 in order to explain Daniel’s position that it could not produce highly sensitive

     and confidential business information requested by the parties until an adequate

     protective order was entered ensuring the information would not be improperly disclosed.

     A copy of the Declaration is attached hereto as Exhibit D. As outlined in the Declaration,

     Mr. Conner had been informed by counsel for BASF that documents produced in the

     Texas infringement action which Daniel had marked “highly confidential” pursuant to the

     Protective Order entered by the court in that case were disclosed—without Daniel’s

     knowledge or permission—by Chemtall to its third-party expert witnesses in the Georgia



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     action. Mr. Conner’s Declaration was filed by BASF in the Georgia action in support of

     BASF’s Motion for Protective Order (S.D. Ga. ECF No. 102). This Declaration speaks

     for itself and neither the Declaration nor Daniel’s purported communications with

     BASF’s counsel concerning the Declaration have any bearing on the claims and issues in

     the underlying action.

•    Topic Nos. 3, 4, and 5 seek testimony from Daniel regarding its “investigation” into and

     “factual basis” for Daniel’s written objections to Chemtall’s Document Subpoena and

     “whether BASF could rightly refuse to make discovery in the Chemtall Action” of certain

     documents. Daniel’s written objections to the Document Subpoena and the specific

     grounds for its objections are clearly stated in the document that was served on Chemtall

     on August 13, 2018 in accordance with Rule 45(d)(2) (see Exhibit C).            Daniel’s

     objections have no bearing on Chemtall’s claims against BASF for wrongful assertion of

     patent infringement. Moreover, in the 31 days that have passed since Daniel served its

     written objections on August 13, 2018, counsel for Chemtall has not communicated with

     Daniel or its counsel in any way to discuss Daniel’s objections to the Document

     Subpoena or otherwise attempt to resolve or address Daniel’s concerns about the scope of

     Chemtall’s document requests or the production of highly sensitive documents upon

     entry of an adequate protective order.

•    Topic No. 6 seeks testimony from Daniel regarding “[w]hether BASF is a client or

     customer of Daniel and, if so, the amount and nature of any services rendered by Daniel

     to BASF at any time or from time to time since January 1, 2014.” Again, there is no

     allegation and no basis for any allegation that Daniel had any involvement with or

     knowledge of BASF’s alleged actions regarding its assertion of a patent infringement


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       claim against Chemtall. Therefore, whether any client or customer relationship existed

       between Daniel and BASF since January 1, 2014 is wholly irrelevant to the claims in the

       underlying suit. However, no such relationship between Daniel and BASF could exist

       because Daniel has not conducted any operations as a construction and maintenance

       services firm since 1989.

Because the Chemtall Deposition Subpoena seeks testimony from Daniel that is irrelevant to the

claims in the underlying action, Daniel should not be subjected to the excessive burden and

expense of producing a corporate representative to appear and testify.

B.     The information requested in Chemtall’s Deposition Subpoena is irrelevant for the
       additional reason that the deadline for Chemtall to move to compel Daniel to
       produce documents in response to the Document Subpoena has expired.

       Chemtall’s attempt to use the Deposition Subpoena as a means to obtain information

from Daniel regarding the basis for Daniel’s objections to Chemtall’s Document Subpoena and

Daniel’s recent communications with BASF concerning the production of documents is improper

and irrelevant for the additional reason that the time period for Chemtall to seek enforcement of

the Document Subpoena has expired. Local Civil Rule 37.01(A) (D.S.C.) provides that:

               Motions to compel discovery must be filed within twenty-one (21)
               days after receipt of the discovery response to which the motion to
               compel is directed or, where no response has been received, within
               twenty-one (21) days after the response was due.

Daniel served its written objections on August 13, 2018. Chemtall has filed no motion to

compel, nor has it contacted or attempted to communicate with Daniel regarding the written

objections. Because the deadline for Chemtall’s motion to compel has passed, the deposition

testimony Chemtall seeks regarding Daniel’s objections and any recent communications with

BASF or BASF’s counsel is irrelevant. See, e.g., Purolite Corp. v. Avantech, Inc., No. 3:17-CV-

00692-JMC, 2017 WL 2805215, at *3 (D.S.C. June 29, 2017) (denying motion to compel answer

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to subpoena on the grounds the motion was filed more than 21 days after the subpoenaed non-

party served its written objections).

C.     Chemtall’s Deposition Subpoena must be quashed to the extent it seeks testimony
       concerning privileged attorney-client communications or protected work product of
       Daniel’s counsel.

       The Court must quash the Deposition Subpoena to the extent it “requires disclosure of

privileged or other protected matter, if no exception or waiver applies.” Fed. R. Civ. P.

45(d)(3)(A)(iii).   Chemtall’s    requests   for   deposition   testimony    concerning    Daniel’s

“investigation” into and “factual basis” for objections to document requests in this action set out

in Topic Nos. 3, 4, and 5 necessarily implicate privileged communications between Daniel and

its counsel and the mental impressions, conclusions, opinions, or legal theories of Daniel’s

counsel which are protected by the attorney work product doctrine. See Hawkins v. Stables, 148

F.3d 379, 383 (4th Cir. 1998). Therefore, Daniel requests that the Deposition Subpoena be

quashed to the extent it requires Daniel to disclose privileged communications or protected work

product of its attorneys.

D.     Daniel reserves its right to request an award of sanctions against Chemtall pursuant
       to Rule 45(d)(1).

       Rule 45(d)(1) requires that “[a] party or attorney responsible for issuing and serving a

subpoena must take reasonable steps to avoid imposing undue burden or expense on a person

subject to the subpoena” and further requires that “[t]he court for the district where compliance is

required must enforce this duty and impose an appropriate sanction—which may include lost

earnings and reasonable attorney’s fees—on a party or attorney who fails to comply.”

Chemtall’s use of the subpoena process to require Daniel to undertake the burden and expense of

producing a witness to testify regarding irrelevant and improper topics concerning document

production issues—all of which could be easily avoided by the entry of a protective order as

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suggested by Daniel—is directly contrary to the requirements of Rule 45(d)(1).             Daniel,

therefore, reserves its right to request that the Court award Daniel the reasonable attorney’s fees

and other expenses it has incurred in responding to Chemtall’s Deposition Subpoena.

                                      IV. CONCLUSION

       For the reasons stated above, Daniel respectfully moves this Court for an order quashing

the Deposition Subpoena served by Chemtall. Undersigned counsel for Daniel certifies that, in

light of the short time provided for Daniel to respond to the Deposition Subpoena and Chemtall’s

failure to respond to and communicate with Daniel regarding its previously served written

objections and Daniel’s suggestion that responsive documents and information would be

produced upon entry of an adequate protective order, further attempts to consult with counsel for

Chemtall prior to filing this Motion would be impractical and serve no useful purpose.

                                             Respectfully submitted,

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                                CERTIFICATE OF SERVICE

        I hereby certify that on April 26, 2016, the foregoing was electronically filed with the
Clerk of the Court using the CM-ECF system. Notification of such filing was given to the
following by the CM-ECF system to those registered to receive a Notice of Electronic Filing for
this case:


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                                            By:     /s/ W. David Conner




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